 

 

STATE OF NORTH CAROLINA >” " ncvs 599

HAYWOOD In The General Court Of Justice

 

 

 

County moe (1 District Superior Court Division

Name And Address Of Plaintiff 1 ee

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HEAVEN CORDELL Luce whee ©
95 DEPOT STREET coy wend COUNTY] C.S.C, GENERAL
WAYNESVILLE NC 28786 CIVIL ACTION COVER SHEET
Name And Address Of Plaintiff 2 ,

OY eee oo EX} INITIAL FILING — [_] SUBSEQUENT FILING

Rule 5(b) of the General Rules of Practice for the Superior and District Courts

Name And Address Of Attorney Or Party, If Not Represented
VERSUS (complete for initial appearance or change of address)

 

 

Name And Address Of Defendant 1
CHEROKEE COUNTY

C/O SEAN F. PERRIN DAVID A. WWEWICKRAMA

 

 

 

 

301 SOUTH COLLEGE STREET, SUITE 3500 wv WNESYILLE ET Nc 28786
CHARLOTTE NC 28202 Telephone No. Cellular Telephone No,
Summons Submitted 828-452-5801

Yes  [_]No

NC Attorney Bar No. | Attorney Email Address
30694

 

 

Name And Address Of Defendant 2

 

SCOTT LINDSAY, in his individual capacity Initial Appearance in Case [_] Change of Address

 

 

 

 

C/O PATRICK FLANAGAN
Name Of Firm Fax No.
2507 PROVIDENCE ROAD, #200 LAW OFFICE OF DAVID A. WIJEWICKRAMA 828-454-1990
CHARLOTTE NC 28211 5 =
Ss Submitted ounsei For
einen oes Rlyes [No [X] All Plaintiffs []All Defendants [—] Only: (ist party(ies) represented)

 

 

 

Jury Demanded In Pleading [_]Complex Litigation  [_]Stipulate to Arbitration

 

 

| TYPEOFPLEADING — |

 

(check all that apply)
[_] Amend (AMND) [_] Failure To State A Claim (FASC)
["] Amended Answer/Reply (AMND-Response) L] Implementation Of Wage Withholding In Non-IV-D Cases (OTHR)
["] Amended Complaint (AMND) [] Improper Venue/Division (IMVN)
[_] Assess Costs (COST) ["] Including Attorney's Fees (ATTY)
LC] Answer/Reply (ANSW-Response) (see Note) [J Intervene (INTR)
CJ Change Venue (CHVN) C Interplead (OTHR)
Complaint (COMP) [_] Lack Of Jurisdiction (Person) (LUPN)
[_] Confession Of Judgment (CNFu) [_] Lack Of Jurisdiction (Subject Matter) (LJSM)
[_] Consent Order (CONS) [-] Modification Of Child Support In IV-D Actions (MSUP)
[_] Consolidate (CNSL) [_] Notice Of Dismissal With Or Without Prejudice (VOLD)
["] Contempt (CNTP) [_] Petition To Sue As Indigent (OTHR)
[_] Continue (CNTN) [-] Rule 12 Motion In Lieu Of Answer (MDLA)
[_] Compel (CMPL) ["] Sanctions (SANC)
[_] Counterclaim (CTCL) Assess Court Costs Cl Set Aside (OTHR)
[| Crossclaim (list on back) (CRSS) Assess Court Costs ry Show Cause (SHOW)
[| Dismiss (DISM) Assess Court Costs L_] Transfer (TRFR)
CJ Exempt/Waive Mediation (EXMD) _] Third Party Complaint (list Third Party Defendants on back) (TPCL)
[_] Extend Statute Of Limitations, Rule 9 (ESOL) C] Vacate/Modify Judgment (VCMD)
[_] Extend Time For Complaint (EXCO) [] Withdraw As Counsel (WDCN)
{_] Failure To Join Necessary Party (FJNP) [] Other (specify and list each separately)

 

 

 

NOTE: All filings in civil actions shall include as the first page of the filing a cover sheet summarizing the critical elements of the filing in a format prescribed by
the Administrative Office of the Courts, and the Clerk of Superior Court shall require a party to refile a filing which does not include the required cover
sheet. For subsequent filings in civil actions, the filing party must include either a General Civil (AOC-CV-751), Motion (AOC-CV-752), or Court Action
(AOC-CV-753) cover sheet.

Case 1:20-cv-00201-MR-WCM Docuggft 1-1 Filed 07/27/20 Page 1 of 59
AOC-CV-751, Rev. 3/19, © 2019 Administrative Office of the Courts
 

STATE OF NORTH CAROLINA »” evs 599

 

HAYWOOD Count an en In The General Court Of Justice
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Name Of Plaintiff . sy ee EEE

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WAYNESVILLE NC __ 28786 Os

VERSUS oe G.S. 1A-1, Rules 3 and 4

Name Of Defendant(s) Date Original Summons Issued

 

 

CHEROKEE COUNTY, et al.

Date(s) Subsequent Summons(es) Issued

 

To Each Of The Defendant(s) Named Below:

 

 

Name And Address Of Defendant 1 Name And Address Of Defendant 2

SCOTT LINDSAY, in his official capacity SCOTT LINDSAY, in his individual capacity

C/O SEAN F, PERRIN C/O PATRICK FLANAGAN

301 SOUTH COLLEGE STREET, SUITE 3500 2907 PROVIDENCE ROAD, #200

CHARLOTTE NC 28202 CHARLOTTE NC 28211

 

IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as
possible, and, if needed, speak with someone who reads English and can translate these papers!

jIMPORTANTE! jSe ha entablado un proceso civil en su contra! Estos papeles son documentos legales.
jNO TIRE estos papeles!

Tiene que contestar a mas tardar en 30 dias. j;Puede querer consultar con un abogado lo antes posible

acerca de su caso y, de ser necesario, hablar con alguien que lea inglés y que pueda traducir estos
documentos!

A Civil Action Has Been Commenced Against You!

You are notified to appear and answer the complaint of the plaintiff as follows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.

 

 

 

     

  

 

 

 

 

 

Name And Address Of Plaintiff's Attorney (If none, Address Of Plaintiff) Date Issued & Time _ wy
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DAVID A. WITEWICKRAMA CN aie —

95 DEPOT STREET Li ATR AGKgLA_

WAYNES VILLE NC 28786 | Deputy ke [fl Assistant csc C] Clerk Of Superior Court

Date Of Endorsement Time
[-] ENDORSEMENT (ASSESS FEE) [Jam []pm
This Summons was originally issued on the date indicated Signature

above and returned not served. At the request of the plaintiff,
the time within which this Summons must be served is
extended sixty (60) days.

 

[_] Deputy csc [_ ] Assistant CSC [_] Clerk Of Superior Court

 

 

NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $25,000 or

less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
so, what procedure is to be followed.

(Over)
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STATE OF NORTH CAROLINA »” ™ nevs 5YP

 

 

 

 

 

 

 

 

HAYWOOD Count eae ye In The General Court Of Justice
y ae Tel [-] District Superior Court Division

Name Of Plaintiff . rats Oye Q
HEAVEN CORDELL moet ye Ot yy we de
Address _
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City, State, Zip
WAYNESVILLE NC 28786 Oe

VERSUS a G.S. 1A-1, Rules 3 and 4

Name Of Defendant(s) Date Original Summons Issued

 

 

CHEROKEE COUNTY, et al.

Date(s) Subsequent Summons(es) Issued

 

To Each Of The Defendant(s) Named Below:

Name And Address Of Defendant 1 Name And Address Of Defendant 2
CHEROKEE COUNTY

C/O SEAN F, PERRIN
301 SOUTH COLLEGE STREET, SUITE 3500
CHARLOTTE NC 28202

 

 

 

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You are notified to appear and answer the complaint of the plaintiff as follows:

1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiff's last known address, and

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

if you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.

 

 

 

  

 

 

 

 

 

 

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Name And Address Of Plaintiff's Attorney (if none, Address Of Plaintiff) Date Issued YZ, Time
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DAVID A. WIJIEWICKRAMA Mk A, wap)
95 DEPOT STREET 4 Ae fa Fl Poof, ad
WAYNES VILLE NC 28786 ["] Deputy CSC Fl dosistn CSC ["] Clerk Of Superior Court
Date Of Endorsement Time
(_] ENDORSEMENT (ASSESS FEE) [Jam []rm
This Summons was originally issued on the date indicated Signature
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the time within which this Summons must be served is
extended sixty (60) days. []deputy csc — [[JAssistantcsc ——_[[] Clerk Of Superior Court

 

 

NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $25,000 or
less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
so, what procedure is to be followed.

(Over)
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STATE OF NORTH CAROLINA » xocvs STF

 

 

 

 

 

 

HAYWOOD Count we wo In The General Court Of Justice

y ee bE po ae [_] District Superior Court Division
Name Of Plaintiff
HEAVEN CORDELL cnn sol, PH 3: 85
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City, State, Z) Aven COEF ALIAS AND PLURIES SUMMONS (ASSESS FEE)
ity, State, Zip
WAYNESVILLE NC 28786

VERSUS TD ce eee ee

G.S. 1A-1, Rules 3 and 4

 

Name Of Defendant(s) Date Original Summons Issued

 

CHEROKEE COUNTY, et al.

Date(s) Subsequent Summons(es) Issued

 

To Each Of The Defendant(s) Named Below:

 

Name And Address Of Defendant 1 Name And Address Of Defendant 2

CINDY PALMER, in her official capacity CINDY PALMER, in her individual capacity

C/O SEAN F, PERRIN C/O JOHN L. KUBIS, JR.

301 SOUTH COLLEGE STREET, SUITE 3500 22. NORTH PACK SQUARE

CHARLOTTE NC 28202 ASHEVILLE NC 28801

 

 

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if you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.

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Name And Address Of Plaintiff's Attorney (if none, Address Of Plaintiff) Date Issued & Time
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DAVID A. WEWICKRAMA Signatpre

 

 

 

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95 DEPOT STREET
WAYNESVILLE NC 28786 [| Deputy CSC [Phasetstant csc L] Clerk Of Superior Court
Date Of Endorsement Time
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|] Deputy csc ["] Assistant CSC [__] Clerk Of Superior Court

 

 

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so, what procedure is to be followed.

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STATE OF NORTH CAROLINA~ IN THE GENERAL COURT OF JUSTICE
COUNTY OF HAYWOOD, ae 9:55 SUPERIOR COURT DIVISION

_ — -FILENO: 2O WIS5I7F
sand COSI cS,
HEAVEN CORDELL, 3/./"" Bab

Plaintiff

COMPLAINT
(Jury Trial Demand)

V.

CHEROKEE COUNTY,

SCOTT LINDSAY in both his individual
capacity and official capacity as DSS
attorney for Cherokee County, and
CINDY PALMER, in both her individual
capacity and official capacity as Director
of the Department of Social Services for
Cherokee County,

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Nee ee ed ee ee ee ee ee ee ee ee es ee ee

Defendants.

 

NOW COME the Plaintiffs, by and through undersigned counsel, and allege the
following Claims for Relief seeking recovery of damages and for injuries incurred as a
proximate cause of the acts and omissions of Defendants arising from the conduct of the
Defendants in their official and individual capacities, as described more particularly in
this Complaint:

INTRODUCTION

1. Plaintiff Heaven Cordell is one victim of a scheme undertaken by Defendants and
their agents leading to multiple events, transactions and occurrences, referenced
and described in this Complaint, involving the unlawful taking of minor children
by the Defendants. Defendants’ conduct violated state and federal law, policy, and
the constitutional rights of both parents and their children. Defendants illegally
took minor children from the custody of their biological parents using a variety of
unlawful documents titled Custody and Visitation Agreements (hereinafter
“CVA”), Powers Of Attorney (hereinafter “POA”), Family Safety Agreements
(FSA’s), Safety Plans and other similarly substantive documents and agreements.

These Alternative Removal Mechanisms were designed and used to avoid in Court

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10.

time, Judicial Oversight and reduce Cost to Cherokee County’s DSS budget.
Plaintiff Heaven Cordell is one of many children removed from her home and
injured by the Defendants’ illegal and unconstitutional practices and policies of

using CVAs and similar documents and processes.

PARTIES AND JURISDICTION
Plaintiff Heaven Cordell (hereafter Heaven) is a citizen and resident of Cherokee
County, North Carolina. Heaven has a sister Molly Cordell.
Plaintiff is over the age of 18 and is legally able to bring this lawsuit in her own
name. |
Defendant Cherokee County (hereinafter “Cherokee County”) is a political
subdivision of the State of North Carolina, organized and governed by the laws of
the State of North Carolina.
Defendants Lindsay is a citizen and resident of Cherokee County, North Carolina.
Defendant Palmer is a citizen and resident of Cherokee County, North Carolina.
The unlawful acts and/or omissions which are the subject of this action took place
in Cherokee County, North Carolina.
Venue is proper in the Cherokee County, North Carolina pursuant to N.C. Gen. Stat.
§§ 1-77 and 1-82.
The amount in controversy exceeds $25,000.00, and therefore the Superior Court is
the proper division of the General Court of Justice for trial pursuant to N.C. Gen.
Stat. § 7A-243.
Defendants are not entitled to absolute, prosecutorial, or governmental immunity
because, inter alia, the actions complained of herein were not undertaken during
the process of prosecuting any claim of abuse, neglect, or dependency in a

proceeding before the District Court of Cherokee County, North Carolina.

11 Defendants have waived any governmental immunity that may arguably apply,

pursuant to N.C. Gen. Stat. § 153A-435 by the purchase of insurance and/or
participation in the North Carolina Association of County Commissioners Risk
Management Pool, which provides coverage for the acts and omissions alleged

against the Defendants herein. Defendant Cherokee County also has a cash

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reserve that is also liable for any damages arising from the conduct set forth
herein.

Each Claim for Relief against Defendants Lindsay and Palmer is brought against
that Defendant in both his/her individual and official capacities, unless otherwise
specified below.

Each Defendant, both those known and yet to be identified through discovery in
this action, committed the acts complained of herein while acting in both their

individual and official capacities.

FACTS RELEVANT TO PLAINTIFEF’S CLAIMS FOR RELIEF
Plaintiff adopts and incorporate by reference all allegations of this Complaint as
though full set forth herein.
Defendant Scott Lindsay (hereinafter “Lindsay”) has been at all relevant times, the
attorney for Cherokee County DSS, an agent and employee of Cherokee County,
and a Social Services employee of Cherokee County under the direct guidance and
control of its Director.
Defendant Lindsay is a government actor as it relates to the allegations set forth
herein.
Defendant Lindsay exercised personal and professional deliberation, made
decisions and exercised personal and professional judgment as set forth herein.
Defendant Lindsay has been trained for more than 18 years in the rules,
regulations, policies and procedures of the Department of Social Services as
promulgated by the North Carolina Department of Health and Human Services
(“NCDHHS”) and the associated cases and laws of the state of North Carolina, the
Constitution of the United States, and applicable federal laws, including
corresponding federal cases and statutes.

a Defendant Lindsay, as an agent for Cherokee County and the Director of
the Department of Social Services, is statutorily obligated to act in the best
interest of each minor child and to ensure each child’s health and safety at
all times when acting in regard to Cherokee County (and its constituent

Department of Social Services) and carrying out its duties.

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b,

Defendant Lindsay, as an agent for Cherokee County and the Director of

the Department of Social Services, is obligated to ensure the legal rights of
each and every parent are protected at all times when a minor child is

being removed from a parent’s care, custody and control, by Cherokee

County (and its constituent Department of Social Services).

He is obligated to follow all the laws of the State of North Carolina at all
times.

He owes a duty, as the DSS Attorney for Cherokee County and Social
Services employee of Cherokee County, operating with the authority of and
at the direction of the County Director of Social Services, to act in
accordance and conformity with all applicable state and federal laws,
policies, and procedures toward all adults and children who are provided

social services by Cherokee County and its Social Services employees.

19. Defendant Lindsay has been continuously employed as both the County Attorney

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and DSS Attorney for Cherokee County simultaneously for many years.

Further, Defendant Lindsay has represented Cherokee County as DSS attorney and -

provided advice and guidance to the then-incumbent Directors of Social Services

for Cherokee County and Cherokee County’s Social Services employees regarding

all social services-related investigations and practices during all times relevant to

the allegations contained within this Complaint.

Defendant Cindy Palmer (hereinafter “Palmer”) was, at relevant times (at the time

of filing the original Complaint), the Director of Social Services for Cherokee

County and has been an agent or employee of Cherokee County at all relevant

times. Defendant Palmer is a health and community worker.

a.

Defendant Palmer was the Director of Social Services for Cherokee County
on an interim basis from November 30, 2009 until July 2010, and again
from August 1, 2015 until March 23, 2016 and was the permanent
Director of Social Services from March 23, 2016 until June 11, 2018.

Defendant Palmer has been, at all relevant times, an agent or employee of

Cherokee County and a health and community worker.

Case 1:20-cv-00201-MR-WCM Document 1-1 Filed 07/27/20 Page 8 of 59
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25.

c. Defendant Palmer, at all relevant times, was trained in the applicable
policies, procedures, and laws of the State of North Carolina as they
pertain to her duties as Director of Social Services for Cherokee County,
including Chapter 7B of the North Carolina General Statutes and how to
perform the duties of a Social Worker.

d. Defendant Palmer was not lawfully qualified to be the Director and a
waiver was sought for her appointment by Cherokee County.

e Defendant Scott Lindsay served as DSS staff Attorney for this Director and
used the CVAs for Heaven Cordell during the time and tenure of this
director and those before her.

Defendants Palmer, held, during the times aforementioned, a public office created
by state statute whereby she exercised a position of power and discretion, as
allowed by law as set forth in N.C. Gen. Stat. § 7B-100 et. seq and Chapter 108A of
the North Carolina General Statutes.

Defendant Palmer was trained in the rules, regulations, policies and procedures of
the Department of Social Services as promulgated by the NCDHHS and the
associated laws of the state of North Carolina after assuming her responsibilities
and duties. |
Defendant Palmer as the Director of Social Services for Cherokee County,
exercised personal and professional deliberation, made decisions and exercised
personal and professional judgment as set forth herein.

Defendants Palmer, as Director of Social Services for Cherokee County, had both
the authority and responsibility to set policies and practices for Cherokee County
related to the County’s obligation under state law to provide social services,

including those complained of in this action.

26. As Cherokee County’s Director of Social Services, Defendant Palmer had a duty of

her office to, at all times, act in the best interest of each minor child over whom
the County exercises its social services powers and to follow the law regarding
placement of minors in the care of persons other than their biological parents

including Heaven Cordell.

Case 1:20-cv-00201-MR-WCM Document 1-1 Filed 07/27/20 Page 9 of 59
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32.

Defendant Palmer was an official policymaker for Cherokee County as created and
set forth by North Carolina law.

Defendant Palmer was a public officer as defined by applicable law, including the
law of North Carolina.

At this time, Plaintiff is unaware of the identifies of other persons who are or have
been social workers, supervisors, health and community workers and others who
took part in, were involved in or, had knowledge of the process by which she was
removed from her biological father’s custody without lawful authority.

Each and every agent and employee of Cherokee County, including each and every
past and present social worker, supervisor, attorney, and Director of Social
Services, is obligated to act, at all times, in the best interest of each minor child
over whom the County exercises its social services powers and to follow the law
regarding placement of minors in the care of persons other than their biological
parents.

Each and every agent and employee of Cherokee County, including each and every
past and present social worker, supervisor, attorney, and Director of Social
Services, is obligated to act, at all times, in the best interest of each minor child
over whom the County exercises its social services powers and to follow the
applicable law, policy and procedure as it relates to the removal/taking and
placement of minor children in the care of persons other than their biological
parents.

Each and every agent and employee of Cherokee County, including each and every
past and present social worker, supervisor, attorney, and Director of Social
Services, is obligated to act, at all times, in the best interest of each minor child
over whom the County exercises its social services powers and to follow the
applicable law, policy and procedure to provide services as required by law to the

biological parents, guardians and persons to whom minor children were sent.

Case 1:20-cv-00201-MR-WCM Document 1-1 Filed 07/27/20 Page 10 of 59
33, At all relevant times, Cherokee County had a Social Services Board, which had
oversight authority over the County’s Department of Social Services.

a At all relevant times, at least one County Commissioner served on the
County Board of Social Services and was aware, or should have been
aware, of the conduct of Defendant Lindsay.

b. At times relevant to this Complaint, upon information and belief, Dan
Eichenbaum was the Commissioner assigned. |

c, At all relevant times, the Cherokee County Commissioner serving on the
Board of Social Services, as well as the Board itself, had a duty imposed by _
Jaw to ensure that Social Services employees of the County complied with
all applicable policies, procedures, and state and federal laws, including
but not limited to, laws related to the taking of minor children from their
parents and to review records on a periodic basis as set forth by N.C. Gen.
Stat. § 108A et. seq.

d. At all relevant times, the Cherokee County Commissioner serving on the
Board of Social Services, as well as the Board itself, had actual knowledge,
through an N.C. Dept. of Health and Human Services audit, that the
Cherokee County Department of Social Services:

i, Was grossly understaffed and underfunded;

ii Had an unacceptable social worker/open case ratio;

ii, Was not being given adequate supervision by the director; and

iv. Was otherwise failing to provide adequate social services in
compliance with law and policy.

34. At all relevant times, Cherokee County, by and through its employees (including
its Directors of Social Services) was aware, or should have been aware, of the
Defendants’ conduct, as describe throughout this Complaint. As a direct and
proximate result of their deliberate indifference that shocks the conscience,
Cherokee County effected the loss and deprivations referenced in this Complaint
through its policy, pattern, practice, and custom of unlawfully taking minor

children by use of illegal documents which acted as Alternative Removal

Case 1:20-cv-00201-MR-WCM Document 1-1 Filed 07/27/20 Page 11 of 59
Mechanisms to avoid court involvement and judicial oversight, including Heaven’s
CVA. Yet, Cherokee County did nothing to object or intervene. |

35. The Defendants and the Social Services employees of Cherokee County, acting
with the authority of and at the direction of the Defendants, at the times relevant,
improperly billed either local, state or federal government funding sources while
engaging in the CVA process with this Plaintiff.

36. Heaven was a child during all times relevant to this complaint, during the period
of her minority, she lived with her grandmother after her biological mother
passed away for a time and then with the Haney family until she turned 18. —

37. Timothy Wayne Cordell is the biological father of Heaven and Molly, neither
Heaven or Haven was living with their father after her mother’s death.

38 Social Services employees of Cherokee County, upon information and belief,
opened an investigation into whether Heaven and Haven were an abused,
neglected, or dependent child based in part upon the unsuitability of her
grandmother.

39. This investigation resulted in Social Services employees of Cherokee County
utilizing a CVA (executed by biological father, Timothy Wayne Cordell) to remove

_custody of Heaven and Molly from her grandmother and placing Heaven with her
brother, Timothy Isiah Cordell, who was over the age of 18 and living in Alabama.

40. Upon information and belief, a “Safety Resource Placement Memo of Agreement”
was entered during 2/16/2016. Subsequently, it appears a Power of Attorney
(POA) was initiated in February 2016. EXHIBIT A(1)(2).

41, Heaven went to live with Scott and Angie Haney in Cherokee County, NC.

42. At no time relevant was any well-being or health check or other follow-up was
provided by Social Services employees of Cherokee County.

43, Sometime during late summer of 2017, Social Services employees of Cherokee
County again opened an investigation and utilized a CVA to purportedly transfer
custody of Heaven, again having the biological father, Timothy Wayne Cordell,
execute the CVA.

44, A signed copy of the second CVA involving Heaven is filed herein. EXHIBIT B.

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45. At no time relevant was Heaven presented to a Court as an abused, neglected, or
dependent child.

46. At no time relevant was Heaven provided any social services by employees of
Cherokee County Department of Social Services or their appropriate benefit
providers. .

47, As a direct result of the use of the CVA by the Defendants, Heaven was separated
from her sister Molly Cordell.

48, At no time relevant was any well-being check or other follow-up was provided by
Social Services employees of Cherokee County.

49. As a proximate result of Defendants’ conduct, Heaven suffered sadness, pain and
emotional distress as: |

a. Heaven, as a minor was removed against her will and without due process
of law from her home;

b. Heaven, as a minor lost the services, care, protection, and assistance of her
father and potential future services, care, protection, and assistance of her
father;

c. Heaven was separated from her sister who was the only family that knew
and loved her and suffered severe emotional trauma, pain and suffering.

d. Such other damages as may be proven at trial.

50. Because Heaven was placed outside the lawful process of a dispositional hearing
in DSS Court by means of the unlawful CVA, Cherokee County did not provide
medical care and other services and benefits that it would have been required to
provide had the lawful process of a Court proceeding been undertaken. Heaven
was directly harmed by Defendants’ unlawful placement of her by losing medical
care, education, and other beneficial services to which she would have been
lawfully entitled.

51. Upon information and belief:

a The names of the documents and the specific mechanics of each used to
accomplish the illegal taking of this child from her biological parent
deprived her biological parent of his rights to substantive and procedural

due process has varied through the years.

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b. At various times, these documents used for the illegal takings, were
referred to as “Custody and Visitation Agreements,” “CVAs,” “Custody
Agreements,” “Safety Resource Placement Memo of Agreement,” “SRPAs,”
Powers of Attorney “POAs”, or such similar terms. Plaintiff uses the
generic term “CVA” to encompass all such substantively similar
documents or documents utilized to accomplish Defendants’ unlawful
objectives.

c, Regardless of the title given to the document, the unlawful act was using
the documents prepared by Social Services employees of the County to
illegally take a child to whit a biological parent retained his constitutional
rights to custody and to deprive that parent of his rights to substantive
and procedural due process.

d. CVAs other similar documents were often used as Alternative Removal
Mechanism when Defendant Lindsay did not feel the case was “serious
enough” for Court involvement.

e. Defendant Lindsay would communicate about the draft CVAs with
Cherokee County Social Services employees to input the particular factual
information.

i. The Social workers involved min this matter did so with the
approval of Defendant Lindsay and/or their social worker
supervisor (whose authority is directly derived from and can only
be exercised with the consent of the County Social Services
Director) who were following the policies and guidance of the
Director of Social Services for Cherokee County, at the time.

ii All knowledge of Defendant Lindsay, as well as the social workers
and supervisors, are imputed to the Director of Social Services for
Cherokee County at relevant times.

f Upon information and belief, these CVAs, POAs, FSAs, Safety Plan or other
similar documents were sent to and from Defendant Lindsay’s Cherokee
County-provided and private email addresses since 1999, including but

not limited to Heaven Cordell.

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g, These CVAs, POAs, FSAs, Safety Plan or other similar documents have
been used by Cherokee County Social Services employees and County
Social Services directors to unlawfully take children from the lawful
custody of a parent and deprive the parent of substantive and procedural
due process since 1999.

h. Defendant Lindsay and/or social worker supervisors and/or Cherokee
County Social Services Directors, including Palmer and those previous to
her, advised these social workers that the use of CVAs was legal and
permissible.

i Cherokee County, by and through its Director of Social Services and Social
Services employees, utilized unlawful CVAs, POAs, FSAs, Safety Plan or
other similar documents as Alternative Removal Mechanisms, frequently.

j. Social Services employees of Cherokee County created and induced
parents to enter into dozens of CVA’s, POAs, FSAs, Safety Plans or other
similar documents as Alternative Removal Mechanisms -- all of which were
created, effected, and enforced by Social Services employees of Cherokee
County or the county Director of Social Services, or Defendant Lindsay.

k No CVAs, POAs, FSAs, Safety Plan or other similar documents were done
without the direct or indirect approval, guidance and participation of
Defendant Lindsay and/or the then-incumbent or actual Cherokee County
Director of Social Services Cindy Palmer.

‘ | Defendant Palmer, the Cherokee County Director of Social Services, and
persons who held the public office of Cherokee County Social Services
Director prior to her (including Defendants Crawford and Davis) are and
were aware of the CVAs, POAs, FSAs, Safety Plans and similar documents
as Alternative Removal Mechanisms and approved of them, both expressly
and tacitly.

m. Use of the CVA’s, POA’s, FSAs, Safety Plans and substantively similar
agreements to remove minor children from their parents without court
involvement was an official policy of Cherokee County, implemented by

Palmer and her predecessors as the county Social Services Director.

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pn. While the Director takes counsel and advice from her Attorney,
supervisors and social workers, by statute and law, she is ultimately
responsible and accountable for all of the policies and acts as it relates to
each and every child Cherokee County DSS works with and removes from
their biological parents.

o. Use of the CVA’s, POA’s, FSAs, Safety Plans and substantively similar
agreements to remove minor children from their parents without court
involvement was an accepted custom and practice of CCDSS, known to its
policymakers and accepted and encouraged by the policymakers.

p. The practice of utilizing CVAs, POAs, FSAs, Safety Plan or other similar
documents to remove minor children from their parents was so
widespread and so obviously illegal that the failure of the Cherokee
County Board of Commissioners or the Cherokee County Board of Social
Services to exercise their statutory oversight authority and prevent or
correct the unlawful actions of Cherokee County Social Services directors
and employees constitutes deliberate indifference to the constitutional
rights of the parents and children of Cherokee County.

q. On multiple occasions, the decision to proceed with a CVA or other similar
document was made in consultation and agreement between the then-
incumbent Direct of Social Services (including Defendants Palmer,
Crawford, and Davis) and Social Services employees of Cherokee County.

t. On multiple occasions, the decision to proceed with a CVA or other similar
document was made in consultation between Defendant Lindsay and
Social Services employees of Cherokee County during case review, case
staffing, or other times.

s. These documents were used to achieve Cherokee County’s and its Social
Services director, employees, and Defendant Lindsay’s goal of removing
minor children from lawful custody when they lacked sufficient evidence
or a legal basis to file a petition or seek non-secure custody of a minor

child pursuant to N.C. Gen. Stat. § 7B-100 et. seq,,

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t CVAs, POAs, FSAs, Safety Plans or other similar documents were used to

interfere with parental relationships in cases in which Cherokee County,
its Social Services Director (including Palmer) and other Social Services
employees and Defendant Lindsay knew such interference was not legally
justified including but not limited to Heaven.

i. Moreover, CVAs and POAs and other similar documents were used
to avoid judicial oversight into the activities of the Cherokee
County Director of Social Services, other Social Services employees,
and Defendant Lindsay. |

ii. Further, CVAs and POAS and other similar documents were utilized
to avoid scrutiny by the Court and parents’ counsel.

CVAs, POAs, FSAs, Safety Plan or other similar documents were used to
avoid, and in fact did result in, Cherokee County not providing any follow-
up care (including inter alia medical care) that Cherokee County is
required to provide to children who are placed in an out-of-home
placement, pursuant to N.C. Gen. Stat.§ 7B-100 et seq.

Upon information and belief, Palmer and Lindsay received salary increases

during applicable times as set forth herein.

52. In a separate action seeking a Declaratory Judgment, Judge Sellers, entered a

53.

Declaratory Judgment, finding inter alia, that all CVAs and like documents

including POAs and other similar documents to be void ab initio.

A true and accurate copy of this Order is attached as EXHIBIT C.

Following a report from District Court Judge Monica Leslie to NCDHHS regarding

the Cherokee County Department of Social Services’ and Defendant Lindsay’s

actions when she discovered the Defendants’ use of CVAs, the NCDHHS became

aware of the practice of entering into CVAs and other such agreements as used in

Heaven's case. .

. DHHS advised in a December 20, 2017, letter to all county directors of social
services that “facilitating such private custody agreements without the oversight

of the Court falls outside of both law and policy.” A true and accurate copy of this

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letter has been filed with the Court. EXHIBIT D.

CLAIMS FOR RELIEF
COUNT I: NEGLIGENCE
(Against Lindsay in his individual and official capacities)

55. Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.

56. Defendant Lindsay was employed as the DSS attorney for Cherokee County for a
period in excess of 18 years.

a. Atall times relevant, Defendant Lindsay was trained in the law as an
attorney, licensed to practice law in North Carolina, as authorized by the
North Carolina State Bar. At no time was Lindsay the final policy maker
for Cherokee County Department of Social Services.

b. Atno time relevant was Defendant Lindsay ever in an attorney-client
relationship with Cordell or her biological father.

c, Atno time relevant, did Defendant Lindsay or any other named Defendant
execute a binding retainer agreement involving legal services pursuant to
the Rules of the North Carolina State Bar with Heaven.

57, At all relevant times, Lindsay has improperly and without legal authority
prepared CVAs, POAs, FSAs, Safety Plans and similar documents and obtained
signatures from parents, either directly or indirectly, and made
misrepresentations to accomplish the purpose of encouraging parents to sign the
CVAs, POAs and similar documents for the purpose of removing children from the
lawful parent/plaintiffs’ care, custody, and control.

58 Upon information and belief, the use of CVAs and POAs, FSAs, Safety Plans and
other similar documents by Cherokee County was approved of by either official
policy, unofficial custom, or constituted an official, endorsed or accepted practice
of Cherokee County, based on Lindsay’s involvement with preparing these
documents and encouraging DSS employees to use them.

59. Defendant Lindsay stated to the District Court of Cherokee County in December
2017 that he had personal knowledge of at least 20 CVAs.

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60. Upon information and belief, Defendant Lindsay received, reviewed, and approved
dozens, if not hundreds, of CVAs, POAs, FSAs, Safety Plans or other similar
documents during his tenure as DSS attorney for Cherokee County over the course
of nearly 20 years. These documents were either drafted by other Social Services
employees of Cherokee County or by Lindsay himself.

61. Upon information and belief, Defendant Lindsay reviewed and approved the CVA
used in Heaven Cordell’s matter.

62. Upon information and belief, Defendant Lindsay improperly used his position to
influence the Cherokee County Director of Social Services or her designees to NOT
file petitions in regard to abused, neglected, and dependent children of Cherokee
County based on personal relationships he had with family members of either the
parents or children.

63. Upon information and belief, when Defendant Lindsay was questioned by social
workers, he represented that the use of CVAs was lawful.

64. Defendant Lindsay’s conduct, as set forth throughout this Complaint, was in
violation of the Plaintiff's constitutional rights.

65. Pursuant to North Carolina law, Defendant Lindsay owed a duty to the Plaintiff in
this matter and those similarly situated to render services and exercise the
degree of care and or skill commonly applied and used by other DSS attorneys
similarly trained with similar experience that a prudent, reputable attorney
representing a Department of Social Services would have used when dealing with
the plaintiff in similar circumstances as set forth herein.

66. Pursuant to North Carolina law, Defendant Lindsay failed to render services and
exercise the degree of care and or skill commonly applied and used by other DSS
attorneys similarly trained with similar experience that a prudent, reputable
attorney representing a Department of Social Services would have used when
dealing with the Plaintiff in similar circumstances as set forth herein.

67. Pursuant to North Carolina law, Defendant Lindsay failed to exercise appropriate
professional judgment and engaged in misconduct which is otherwise
unreasonable under the circumstances as set forth herein.

68 As a proximate result of Lindsay’s negligence, Plaintiff has suffered damages.

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COUNT I: NEGLIGENCE
(Against Palmer in her individual and official capacity)

69, Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.

70. At all times relevant to the transactions and occurrences giving rise to the
Complaint, the Social Services employees of Cherokee County received the
training required by the State of North Carolina to be social workers at the
Cherokee County Department of Social Services.

71 Upon information and belief, the use of CVAs and POAs, FSAs, Safety Plans and
other similar documents by Cherokee County was approved of by either official
policy, unofficial custom, or constituted an official, endorsed or accepted practice
of Cherokee County.

72. North Carolina law imposes a duty on the named Defendants to act in accord with
the constitutional rights of parents and children, including clearly stating that the
provisions of Chapter 7B “shall be interpreted and construed so as to... provide

_ procedures for the hearing of juvenile cases that assure fairness and equity and
that protect the constitutional rights of juveniles and parents ” N.C. Gen. Stat. § 7B-
100(1) (emphasis added).

73. Upon information and belief, when Defendant Lindsay and Palmer were
questioned by social workers, they represented that the use of CVAs was lawful.

74. Upon information and belief, Defendant Palmer received training from the North
Carolina Department of Health and Human Services on the proper procedures for
child removal pursuant to N.C. Gen. Stat. § 7B-100 et. seq.

75, Defendant Palmer owed a duty to the Plaintiff in this matter to render services
and exercise the degree of care and or skill commonly applied and used by other
County Directors of Social Services similarly trained with similar experience that a
prudent Director of Social Services for a county would have used when dealing
with the plaintiff in similar circumstances as set forth herein.

76, Defendant Palmer acted with deliberate indifference to such training, the law, the

rights of the Plaintiff, and in other ways yet to be discovered through discovery.

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77. Defendant Palmer acted with deliberate indifference to such training, the law to a
level that shocks the conscience and violated Heaven’s constitutionally protected
rights.

78. Upon information and belief, there is a written manual promulgated by NCDHHS
setting forth written instructions for county Departments of Social Services on the
proper and lawful methods to remove children from the custody of their biological
parents pursuant to N.C. Gen. Stat. § 7B-100 et seq.

79. On multiple occasions, the Cherokee County DSS was audited by the NCDHHS,
including reviewing files involving the removal of minor children from their
biological parents.

a. Upon information and belief, the CVA process was not discussed with or
approved by NCDHHS or the State of North Carolina.

b. Upon information and belief, the CVA documents were not shown to or
disclosed to the state inspectors.

c, Upon information and belief, the Defendants took affirmative steps to hide
the CVAs and the process for obtaining CVAs from the state inspectors
from NCDHHS.

d. Alternatively, the Defendants negligently failed to inform NCDHHS
officials about the CVAs and the process for obtaining CVAs.

80. At all times, the Defendants, not just limited to Palmer, knew or should have
known that using CVAs to remove children from their biological parents was not
an accepted practice and would not have been approved by NCDHHS.

81 Defendant Palmer was negligent in using the CVAs to deprive Plaintiff of a
relationship with her biological father. |

82. Defendant’s conduct has proximately caused damages to Plaintiff.

COUNT UL: GROSS NEGLIGENCE
(Against Lindsay and Palmer in their individual and official capacities)

83. Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.

84. The Defendants owed a duty to the Plaintiffs in this matter and those similarly

situated to render services and exercise the degree of care and or skill commonly

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applied and used by other County Directors of Social Services and their attorney,
similarly trained with similar experience that a prudent Director and/or County
DSS attorney would have used when dealing with the plaintiffs in similar
circumstances as set forth herein.

85. Defendants, by their conduct as described in this Complaint, acted in reckless
disregard of, or wanton indifference to, the rights of the Plaintiffs.

86. Traditionally, gross negligence has been defined as "wanton conduct done with
conscious or reckless disregard for the rights and safety of others." Toomer v.
Garrett, 155 N.C. App. 462, 482, 574 S.E.2d 76, 92 (2002) (quoting Bullins v.
Schmidt, 322 N.C. 580, 583, 369 S.E.2d 601, 603 (1988)).

87. Defendants’ gross and utter failure to take care to follow the constitutional and
statutory mandates regarding the removal of children from their biological
parents as described throughout this Complaint over a period of many years
clearly demonstrates deliberate indifference to the rights of the Plaintiff and
constitutes willful and wanton conduct.

88 Asa result of this gross failure to exercise their duty of care, Defendants’ use of
the CVA to remove Cordell from her biological father’s custody proximately
caused the injuries described in this Complaint.

89. As a proximate cause of Defendants’ conduct, Plaintiff has suffered damages.

COUNT IV: NEGLIGENT HIRING AND RETENTION AND SUPERVISION
(Against Cherokee County)

90, Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.

91 Defendant Cherokee County owed a duty to its residents and citizens to ensure
that its agents and employees acted pursuant to applicable constitutional and
statutory mandates and all applicable state and federal laws.

92. Defendant Cherokee County owed a duty of care to its citizens to hire a competent
and qualified Director of Social Services.

93, Defendant Cherokee County owed a duty of care to its citizens to hire a Director of
Social Services who was well-versed and trained in all applicable federal and state

policies and laws in the performance of her duties.

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94. Defendant Cherokee County, either directly by its Board of Commissioners or its
agents and employees bearing the authority and responsibility for doing so, hada
duty to ensure that the Director of Social Services discharged the director’s duties
pursuant to applicable constitutional and statutory mandates.

95. At all times relevant, Director Palmer did not have the requisite qualifications to
be the Director of Cherokee County Social Services, as set out by the North
Carolina Office of State Human Resources.

96. At all times relevant, Director Palmer did not have the training or experience to
perform the duties required as a Director of Social Services in North Carolina.

97. Defendant Cherokee County, despite being aware of Defendant Palmer’s lack of
qualifications, hired her for the position of Cherokee County Director of Social
Services. To do so, Cherokee County sought and obtained a waiver from NCDHHS
to hire Palmer, despite her lack of qualifications.

98 Defendant Cherokee County, either directly by its Board of Commissioners or its
agents and employees bearing the authority and responsibility for doing so, failed
to adequately oversee Defendant Palmer and other Directors of Social Services.

99, At all relevant times, Cherokee County had a Social Services Board, which had
oversight authority over the County’s Department of Social Services.

a. Atall relevant times, at least one County Commissioner served on the
County Board of Social Services and was aware, or should have been
aware, of the conduct of Defendant Lindsey.

b. Atall relevant times, the Cherokee County Commissioner serving on the
Board of Social Services, as well as the Board itself, had a duty imposed by
law to ensure that Social Services employees of the County complied with
all applicable policies, procedures, and state and federal laws, including
but not limited to, laws related to the taking of minor children from their
parents.

c, Atall relevant times, the Cherokee County Commissioner serving on the
Board of Social Services, as well as the Board itself, had actual knowledge,
through an N.C. Dept. of Health and Human Services audit, that the

Cherokee County Department of Social Services:

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i, Was grossly understaffed; .
ii, Had an unacceptable social worker/open case ratio;
ii, Was not being given adequate supervision by the director; and
iv. Was otherwise failing to provide adequate social services in
compliance with law and policy.
100.Despite the presence of a County Commissioner serving on the Social Services
Board and the awareness of the deficiencies in the services provided by the
Department of Social Services, the County failed to exercise its oversight authority
over Palmer in any way.
101.The use of unlawful CVAs and POAs, FSAs, Safety Plans and other similar
documents has occurred for many years and over the tenures of multiple
directors.
102.At no point during the time that the CVAs and POAs, FSAs, Safety Plans and other
similar documents were being used to remove children from the custody of their
biological parents did Defendant Cherokee County, either directly by its Board of
Commissioners or its agents and employees bearing the authority and
responsibility for doing so, properly determine that Social Services employees of
Cherokee County under the supervision, direction, and authority of the then-
incumbent Director of Social Services (including Palmer) were following the law.
Cherokee County and the persons responsibility for supervising the Social
Services employees failed to discover that the then-incumbent directors of social
services (including Palmer) were using the unlawful agreements, nor did they
steps to correct the unlawful policies and practices being used by the Cherokee
County DSS.
103.Cherokee County’s failure to act and failure to oversee the then-incumbent
Director of Social Services (including Palmer) and prevent or overturn the
implementation of their unlawful and unconstitutional policies constitutes
negligence in the hiring and retention and supervision of these personnel.
104.Cherokee County’s failure to adequately oversee the then-incumbent Director of
Social Services (including Palmer) and thereby prevent or overturn the unlawful

and unconstitutional policies, or at a minimum attempt to remove Palmer from

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her office, constitutes deliberate indifference to the constitutional rights of
Heaven Cordell.

105.As a direct and proximate cause of Cherokee County’s negligence, as set forth
above, the Plaintiff has, in fact, suffered damages.
COUNT V: GROSS NEGLIGENT HIRING AND RETENTION AND SUPERVISION

(Against Cherokee County)

106,Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.

107.Defendant Cherokee County owed a duty to its residents and citizens to ensure
that its agents and employees acted pursuant to applicable constitutional and
statutory mandates and all applicable state and federal laws.

108In addition, or in the alternative, Cherokee County was grossly negligent in its

hiring and retention and supervision of Palmer.

109.Traditionally, gross negligence has been defined as "wanton conduct done with
conscious or reckless disregard for the rights and safety of others." Toomer v.
Garrett, 155 N.C. App. 462, 482, 574 S.E.2d 76, 92 (2002) (quoting Bullins v.
Schmidt, 322 N.C. 580, 583, 369 S.E.2d 601, 603 (1988)).

110.Defendant Cherokee County’s gross and utter failure to make an inquiry into and’
respond appropriately to the unlawful conduct described throughout this
Complaint over a period of many years shows deliberate indifference to the rights
of the Plaintiff and constitutes willful and wanton conduct and shocks the
conscience.

111LAs a result of this gross failure to exercise its duty of care, Cherokee County’s
failure to discharge any DSS Director, including Palmer, who permitted the use of
these CVAs, POAs, and substantially similar documents proximately caused the
injuries described in this Complaint.

112. Defendant Cherokee County was grossly negligent in its failure to properly
oversee its Director of Social Services from 1998 through 2017.

113.Further, Defendant Cherokee County was deliberately indifferent to the acts, or

failures to act by the various Directors of Social Services.

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22,

114.As a proximate cause of Cherokee County’s gross negligence, Plaintiff has suffered
damages.

COUNT VI: NEGLIGENT SUPERVISION
(Against Palmer in her individual and official capacity)

115.Plaintiff adopts and incorporates by reference all allegations of this Complaint as
if fully set out herein.

116,Chapter 7B of the General Statutes clearly states that it “shall be interpreted and
construed so as to... provide procedures for the hearing of juvenile cases that
assure fairness and equity and that protect the constitutional rights of juveniles
and parents ” N.C. Gen. Stat. § 7B-100(1) (emphasis added).

117. Defendant Palmer had a duty to ensure that she established social services
policies for Cherokee County that protected the constitutional rights of juveniles
and parents during her tenure as the Director of Social Services for Cherokee
County. |

118Defendant had a duty to supervise the social workers, supervisors, attorney, and
other Social Services employees of Cherokee County to ensure that their actions
did not violate the constitutional rights of any juveniles and parents.

119.Defendant had a duty to establish protective services for juveniles alleged to be
abused, neglected, or dependent. N.C. Gen. Stat. § 7B-300.

120.Defendant had a duty to make a prompt and thorough assessment of a complaint
that a juvenile within Cherokee County is abused, neglected, or dependent. N.C.
Gen. Stat. § 7B-302(a).

121.If, in the course of this assessment, Defendant determined that removal of the
juvenile from the child’s home is necessary for the protection of the juvenile, the
Director is required to “sign a petition seeking to invoke the jurisdiction of the
court for the juvenile’s protection.” N.C. Gen. Stat. § 302(c). .

122.As a final policy maker and final supervisor over all Social Services employees of
Cherokee County, Palmer had a duty to ensure that the Social Services employees
of Cherokee County acted pursuant to applicable constitutional and statutory

mandates.

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123,Defendant failed to exercise her supervisory authority and thereby breached
these duties.

124.Defendant failed to make any inquiry into and respond appropriately to the
unlawful conduct described throughout this Complaint over a period of many
years.

125,Defendant failed to supervise her employees to ensure that a petition seeking to
invoke the jurisdiction of the juvenile court was filed when removal of Cordell
from her biological father was deemed appropriate for Cordell’s protection.

126.These failures on the part of Defendant to discharge her duties of care
proximately caused the injuries described in this Complaint.

127.As a proximate cause of Defendant’s conduct, Plaintiff has suffered damages.

COUNT VII: GROSS NEGLIGENT SUPERVISION
(Against Palmer in her individual and official capacities)

128Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.

129.Defendant Palmer had a duty to ensure that she established social services
policies for Cherokee County that protected the constitutional rights of juveniles
and parents during her tenure as Director of Social Services for Cherokee County.

130.Defendant had a duty to supervise the social workers, supervisors, attorney, and
other Social Services employees of Cherokee County to ensure that their actions
did not violate the constitutional rights of juveniles and parents.

13LDefendant had a duty to establish protective services for juveniles alleged to be
abused, neglected, or dependent. N.C. Gen. Stat. § 7B-300.

132.Defendant had a duty to make a prompt and thorough assessment of a complaint
that a juvenile within Cherokee County is abused, neglected, or dependent. N.C.
Gen. Stat. § 7B-302(a).

133.In the alternative, Defendant’s conduct was done in reckless disregard for the
rights of the Plaintiff. Traditionally, gross negligence has been defined as "wanton
conduct done with conscious or reckless disregard for the rights and safety of
others.” Toomer v. Garrett, 155 N.C. App. 462, 482, 574 S.E.2d 76, 92 (2002)
(quoting Bullins v. Schmidt, 322 N.C. 580, 583, 369 S.E.2d 601, 603 (1988)).

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134.Defendant was grossly negligent in her failure to properly oversee the Social
Services employees of Cherokee County, who improperly removed Cordell from
the custody of her biological father.

135.Defendant Palmer’s conduct was a gross violation of the Plaintiff's constitutionally
protected rights and shows deliberate indifference and constitutes willful and
wanton conduct that shocks the conscience.

136.These gross failures on the part of Defendant to discharge her duties of care
proximately caused the injuries to Plaintiff described in this Complaint.

137.As a proximate cause of Defendant’s gross negligence, Plaintiff has suffered
damages.

COUNT VIII: DEPRIVATION OF RIGHTS 42 U.S.C. § 1983
(Against Palmer and Lindsay in their individual and official capacities)
138Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.

139.Defendant Lindsay and Defendant Palmer are “persons” as that term is used in 42

U.S.C. § 1983.
140.At all relevant times, Defendants were acting under color of state law.

14. The CVAs and POAs, FSAs, Safety Plans and other similar documents were entered
into in the course and scope of Cherokee County’s child welfare, family services,
and child protective services efforts. However, the facilitation of these
agreements falls outside the duties and responsibilities of Cherokee County, its
Directors of Social Services, and Defendant Lindsay imposed by, inter alia, N.C.
Gen. Stat. §§ 7B-108A, -108A(14), -108A(18) and other applicable statutes and
laws.

142.At no time after the removal of Plaintiff did any of the Defendants, or Social
Services employees of Cherokee County acting with the authority of and at the
direction the Defendants, or health or community workers, review the placement
as required by N.C. Gen. Stat. § 7B-100 et. seq., or check on the health, safety, or
welfare of the Plaintiff.

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143,At all times relevant, Defendant Cherokee County’s social services policies were
established by Defendant Palmer, who acts under the authorization of North
Carolina law.

{44.At all relevant times, Defendant Palmer was further responsible for the oversight,
supervision, policies, and procedures regarding implementation of social services
by both Cherokee County policy and North Carolina law.

145.Pursuant to N.C. Gen. Stat. § 7B-100 et. seq and other relevant North Carolina
statutes, including Chapters 108A and 153A, Defendant Palmer, was at all times
relevant to this Complaint, the final policymaker with regard to all investigative
and placement activities conducted by DSS staff, subordinates, attorney, and
employees.

146.Defendant Palmer, at all times relevant to this Complaint, was acting under the
color of state law in her individual and official capacity.

147,At the times relevant, all Social Services employees of Cherokee County were
acting under color of state law and with the authorization of and direction of the
county Director of Social Services, Scott Lindsay.

148. At the times relevant, all named Defendants were acting under color of state law
in his/her individual and official capacities when engaged in the unlawful conduct
described throughout this Complaint.

149.At the times relevant, the Defendant Palmer, supervisors, social workers, staff
employees, Social Services employees of Cherokee County, health and community
workers and Defendant Lindsay were acting within the scope of their
employment.

150.Children, including Plaintiff, have a right under the Constitution of the United
States, the Constitution of North Carolina, and the laws of the United States and
North Carolina to live with their parent or parents free from involvement and
interference of Cherokee County, absent proof by clear, cogent and convincing
evidence of abuse, neglect, or dependency being produced in a court of law.

151.Parents and children including the named Plaintiff, have the right to live together

as a family without government interference.

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152.The only way a social worker, agent or the Director of a DSS may lawfully remove
a child from a biological parent’s custody under North Carolina law is by clear,
cogent and convincing evidence, based on allegations of abuse, neglect or
dependency.

153,Only a Court Order resulting from due deliberation, duly signed by a judge, and
filed with the Court, can be used to interfere, interrupt or prevent the relationship
between a parent and a child, including the Plaintiff in this action.

154.No judicial authorization ever occurred for this or any other CVA as it relates to
the allegations as set forth herein, which removed Plaintiff from a lawful parent’s
custody.

155.At the times relevant, the Defendants, as set forth herein, lacked any legal right to
remove Plaintiff from the custody of a lawful parent or guardian.

156.At the times relevant, there existed no legal authority for the Defendants to
remove Plaintiff from the custody of a lawful parent or guardian.

157.Defendants never attempted to establish or work a lawful safety plan with regard
to Plaintiff's placements prior to seeking execution of the CVA used to place
Plaintiff first with her brother and later with inappropriate caretakers.

158.At no relevant time was Plaintiff provided counsel, the appointment of a guardian
ad litem, or an attorney for a guardian ad litem, as required by North Carolina law.

159.The conduct on behalf of the Defendants toward Plaintiff shocks the conscience.
At no time was Defendants’ conduct supported in law or fact.

160.The right to parent one’s child is enshrined in the Due Process Clause of the 14th
Amendment to the Constitution of the United States and the Law of the Land
Clause in Article I, Section 19 if the North Carolina Constitution.

16LThe Defendants’ conduct violated clearly established constitutional rights of any
person who had a lawful right to the custody of Plaintiff, and these rights were
clearly established at the time these violations occurred.

162.Defendants’ actions deprived Plaintiff of her constitutional rights and violated her

rights to both procedural and substantive due process.

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163.The actions of the Cherokee County Social Services employees resulted an
unlawful seizure of the Plaintiff, in violation of the Fourth Amendment to the
Constitution of the United States.

164.The actions of the Cherokee County Social Services employees unlawfully
deprived Plaintiff of her right to associate with any lawful parent or guardian in
violation of the First Amendment to the Constitution of the United States.

165.The actions of the Cherokee County Social Services employees deprived Plaintiff of
procedural due process by interfering with her right to freedom of association in
violation of her respective rights under the First Amendment to the Constitution
of the United States.

166.The actions of the Cherokee County Social Services employees deprived Plaintiff of
substantive due process in that they shock the conscience of the Court.

a. The use of the CVA was intended to (and did) allow Cherokee County and
its Social Services employees to evade judicial review of their coercive and
unlawful action and to separate Plaintiff from her father without lawful
authority.

b. These actions by the Cherokee County Social Services employees violated
Plaintiff's rights to substantive due process in violation of the Fourteenth
Amendment of the Constitution of the United States.

167.Defendants each engaged in conduct in furtherance of the object of this conspiracy
and induced others to engage in conduct in furtherance of those conspiracies.
168Defendants engaged in such conduct in bad faith and with intentionally,
recklessly, and with callous disregard for, and deliberate indifference to Plaintiff's
rights.
169.As a direct and foreseeable consequence of this deprivation:

a Heaven was removed against her will and without due process of law
from her home state of North Carolina to the State of Alabama;

b. Heaven lost the services, care, protection, and assistance of her father and

potential future services, care, protection, and assistance of her father;

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c, Heaven lost the services, care, protection, and assistance of any lawfully
appointed guardian and potential future services, care, protection, and
assistance of a lawfully appointed guardian;

d. After being removed from her father’s custody and forced to relocate to
Alabama. Heaven was unable to enroll in school there and lost access to a
free public education as guaranteed under the North Carolina
Constitution;

e. Heaven undertook a harrowing journey from Alabama back to North
Carolina without any legal or enforceable guardianship or foster
placement; .

£ Heaven was forced to return to an unsuitable home with her grandmother
because she had no lawful and enforceable guardianship or foster
placement;

g, Heaven was forced to sacrifice her adolescence and provide gainful
employment, rent, and household upkeep to retain a place to live; and

bh Such other damages as may be proven at trial.

170.Because Heaven was placed with her brother and Jackie Austin outside of the
lawful process of a dispositional hearing in DSS Court and by means of the
unlawful CVA, Cherokee County did not provide medical care and other services
and benefits that it would have been required to provide had the lawful process of
a court proceeding been undertaken. Therefore, Heaven was directly harmed by
Defendants’ unlawful placement of her by losing medical care, education, and
other beneficial services to which he would have been entitled.

17LThe CVA violated Plaintiffs rights guaranteed under the U.S. Constitution,
including but not limited to:

a The agreement is not permitted by, did not comply with, and is contrary
to the provisions of N.C. Gen. Stat. § 7B-100 et. seq., of the North Carolina
General Statutes (which is the means by which the constitutional
rights of parents and juveniles are protected in North Carolina, see, inter

alia, N.C. Gen. Stat. § 7B- 100(1)) because, inter alia:

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i. The agreement did not allow Plaintiff's father specified minimum

visitation with Plaintiff, in violation of N.C. Gen. Stat. § 7B-905.1.

i. The agreement failed to follow the mandate of N.C. Gen. Stat. § 7B-

507(a), which provides that any order placing or continuing the

placement of a juvenile in the custody or placement responsibility

of a.county department of social services (whether it is an Order

for non-secure custody, continued non-secure custody, a

dispositional Order, or a review Order):

1,

Shall contain a finding the juvenile’s removal or
continuation in or return to the juvenile’s home would be
contrary to the juvenile’s best interest;

Shall contain findings as to whether the county Department
of Social Services has made reasonable efforts to prevent or
eliminate the need for placement of the juvenile, unless the
court has previously determined that such efforts are not
required and shall cease;

Shall contain findings as to whether a county Department of
Social Services should continue to make reasonable efforts
to prevent or eliminate the need for placement of the
juvenile;

Shall specify that the juvenile’s placement and care is the
responsibility of the county Department of Social Services
and that the agency is to provide or arrange for the foster
care or other placement of the juvenile; and

May provide for services or other efforts aimed at returning
the juvenile to a safe home or at achieving another

permanent plan for the juvenile.

ii The agreement violates N.C. Gen. Stat. § 7B-100 et. seq., which does

not authorize Cherokee County or its Social Services employees to

enter into or facilitate private custody agreements, powers of

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attorneys, file private custody actions, or take any actions
regarding custody of a minor child without judicial action.

1. These CVAs, POAs, FSAs, Safety Plan or other similar
documents are more similar to a private parental custody
agreement than a custody order entered under the
authority of N.C. Gen. Stat. § 7B- 100 et. seq.

2. These CVAs, POAs, FSAs, Safety Plan or other similar
documents, while similar to a private parental custody
agreement, are not authorized under N.C. Gen. Stat § 50-
13.1 et seq. or N.C. Gen. Stat § 50A-101 et seq.

3, These CVAs, POAs, FSAs, Safety Plan or other similar
documents, though appearing to be similar to a private
parental custody agreement, are prohibited by law.

4, Under N.C. Gen. Stat § 7B-905(b), a dispositional order
under which a juvenile is removed from the custody of a
parent, guardian, custodian, or caretaker shall direct thata
review hearing (as required by N.C Gen. Stat § 7B-906) be
held with 90 days from the date of the dispositional hearing.
iv. It was not executed under the supervision of the District Court of
Cherokee County, North Carolina, which possesses original and
exclusive jurisdiction over all juveniles alleged to be abused,
neglected, dependent, undisciplined, or delinquent within the
County. See N.C. Gen. Stat. § 7B- 200, 7B-1600, and 7B-1601.
vy. It was not executed under the supervision of the District Court of
Cherokee County, North Carolina, which possesses original and
exclusive jurisdiction over all child custody actions. See N.C. Gen.
Stat. § SOA- 201(b) and N.C. Gen. Stat § Chapter 50-13.1 et seq.,
vi. It was not reviewed by a court official or guardian ad litem for the
minor child and was not filed in the minor child’s juvenile action

court file.

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vii. North Carolina District Court has the original and exclusive
jurisdiction over all matters regarding all minor children within
the state (excluding adoptions).

b. Heaven Cordell’s failed to follow the North Carolina Rules of Practice and
Rules of Civil Procedure by inter alia:

i. They were not signed by a judge or filed with the Cherokee County
Clerk of Court's office.

ii Cherokee County DSS did not file any motion, notice on for hearing,
or in any other way bring before or otherwise seek court approval
or oversight in entering into the CVAs.

c The execution of the Heaven Cordell’s CVA, was lacking in any legal
safeguards for the rights of Adult Plaintiffs or Child Plaintiffs, as required
by N.C. Gen. Stat. § 7B-100 et. seq., and the Constitutions of the United
States and the State of North Carolina.

d. Heaven Cordell’s CVA contained no provisions to revoke or otherwise
modify the terms contained therein and contained no provision to allow
judicial review or ratification at any time.

e. Heaven Cordell’s CVA, was used to deprive her father of the right to
procedural due process and substantive due process.

£ Other ways that shall be ascertained through discovery and proven at trial.

172.The CVA was drafted and formatted in such a manner as to resemble a Court
Order, |

173Defendant Palmer, and others who were in the position to establish and
promulgate the policies and official practices of Cherokee County were aware of,
approved, and directed the use of the CVA and substantively similar “agreements.”

174.Defendant Lindsay drafted multiple CVAs, POAs, FSAs, Safety Plan or other similar
documents involving many parents and children over the course of multiple years
including Heaven Cordell.

a. Heaven’s CVA, was prepared, propagated, and produced by CCDSS based

upon Defendant Lindsay’s advice, drafting, and/or counsel. The CVA was

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designed to be a bilateral “agreement” requiring the signatures of both the
parents and the recipient adults,

b. Upon information and belief, Defendant Lindsay, Defendant Palmer,
and/or Cherokee County are in possession of electronic copies of many, if
not all, of the CVAs, POAs, FSAs, Safety Plan or other similar documents
utilized by the Defendants.

i. Cherokee County, its Social Services employees, and health and
community workers of Cherokee County are liable for their
tortious actions, particularly in light of the deliberate indifference
of Cherokee County, and its employees, its agents and other

| defendants yet to be determined through the discovery process.

ij Cherokee County, its Directors of Social Services and other policy
makers are liable for the direct activity and actions of the DSS and
its officials and employees through their individual acts and
actions, as well as the official policies and de facto policies.

ii. These unlawful “agreements” were crafted and utilized to
unlawfully take minor children from the custody of their parents
with the knowledge and approval of the Cherokee County DSS
director or Defendant Lindsay or both.

175.The Defendants combined, confederated, and agreed to act in conformity with
their unlawful patterns, customs, and policies. Each member of the conspiracy
shared the same conspiratorial objective to deprive the Plaintiff of her federally
protected rights resulting in the harm and damages that the Plaintiff has incurred.
176.The unlawful conduct described throughout the Complaint demonstrates that:

a Defendants established as official policy or custom the use of CVAs to
unlawfully remove Heaven and coerce her parent to surrender custody of
his children in violation of their rights under the First, Fourth and
Fourteenth Amendments to the Constitution of the United States

b. Defendants maintained a policy, custom, or pattern and practice of

promoting, facilitating, and condoning the improper, illegal, and

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unconstitutional techniques by Cherokee County Social Services
employees.

c. Defendants demonstrated deliberate indifference to the unlawful,
unconstitutional, and unconscionable actions of their delegated
policymakers, and further failed to adequately train, supervise, or
discipline Social Services employees in connection with protecting and
ensuring the constitutional rights of the Plaintiff.

177. As a proximate cause of Defendants’ conduct, Plaintiff has suffered damages.

COUNT IX: DEPRIVATION OF RIGHTS 42 U.S.C, § 1983
(Defendant Cherokee County - Monnell v. Dep’t of Social Services, 436 U.S. 658)
178Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.

179,The Cherokee County Department of Social Services is a constituent department
of Cherokee County. Cherokee County is governed by a Board of Commissioners,
which has oversight over all county programs and departments.

180.The Director of Social Services for Cherokee County, pursuant to N.C. Gen. Stat. §
7B-100 et. seq., and other relevant North Carolina statues including Chapters 108A
and 153A, is the final policymaker for all policies and procedures established to
govern the operations and activities of the Cherokee County DSS.

181. Defendant Palmer was the Director of Social Services for Cherokee County on an
interim basis from November 30, 2009 until July 2010, and again from August 1,
2015 until March 23, 2016. Palmer was the permanent Director of Social Services
from March 23, 2016 until June 11, 2018.

182.The Defendants, as well as unnamed and other as yet unknown supervisors,
directors, policymakers, and other responsible individuals are “persons,” as
defined pursuant to 42 U.S.C. §1983 and Monell v. Department of Social Services,
436 U.S. 658, 98 S. Ct. 2018 (1978), and its progeny.

183,Defendant Lindsay was, at the relevant times, simultaneously the attorney hired
to represent Cherokee County in juvenile DSS court proceedings, as well as

serving as the attorney for Cherokee County. Defendant Lindsay was also an

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advisor to Social Services employees of Cherokee County, including its directors.
Defendant Lindsay was also a policy maker for Cherokee County.

184.Defendants Lindsay and Palmer established as official policy or custom the use of
CVAs to coerce biological parents to surrender custody of their children in
violation of their rights under the First, Fourth and Fourteenth Amendments to
the Constitution of the United States.

185.The fundamental right to familial relations is constitutionally protected.

186.Cherokee County, by and through its final policymaker, maintained a policy,
custom, or pattern and practice of promoting, facilitating, and condoning the
improper, illegal, and unconstitutional techniques used by Cherokee County Social
Services employees and Defendant Lindsay.

187.Cherokee County demonstrated deliberate indifference to the unlawful,
unconstitutional, and unconscionable actions of their delegated policymakers.
Cherokee County failed to adequately train, supervise, or discipline the directors
of Social Services as set forth herein in connection with protecting and ensuring
the constitutional rights of the biological parents and their children.

188Because the County Commissioners of Cherokee County and/or the County Board
of Social Services and/or the Cherokee County Director of Social Services and/or
Defendant Scott Lindsay were the final policymakers during the past 19 years,
their acts or omissions during that time constituted the policy, custom, or pattern
and practice of Cherokee County.

189.As the final policymaker for Cherokee County, the County Commissioners of
Cherokee County and/or the respective Director of Social Services (Palmer, Davis
and Crawford) and/or Defendant Lindsay created, promulgated, and maintained
the following policies, customs, or practices that deprived the Plaintiff of her
constitutionally protected rights by:

a. Failing to properly train and supervise Cherokee County Social Services
employees with regard to their duties not to (1) fabricate purportedly
legal documents, (2) coerce signatures from biological parents whereby
they gave up their right to parent, (3) separate a parent from a child, (4)

remove a child from his/her family, (5) conceal the CVA process from

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NCDHSS auditors. (6) intentionally and recklessly failed to follow the
procedures as set forth in N.C. Gen. Stat. § 7B- 100 et. seq., (7) ignore the
policies and guidelines as set forth by NCDHHS as it relates to safety plans,
removal procedures, maintaining contact between parents and children,
providing a reunification plan for parents and children and following up
on placement of the minor children to ensure their safety, health and
essential needs are being adequately met.

b. Encouraging, promoting and condoning Cherokee County Social Services
employees to (1) fabricate purportedly legal documents, (2) coerce
signatures from biological parents whereby they gave up their right to
parent, (3) separate a parent from a child, (4) remove a child from his/her
family, (5) conceal the CVA, POA, Family Safety Agreement, Safety Plan
and similar processes from NCDHSS auditors. (6) intentionally and
recklessly failed to follow the procedures as set forth in N.C. Gen. Stat. §
7B-100 et. seq., (7) ignore the policies and guidelines as set forth by
NCDHHS as it relates to safety plans, removal procedures, maintaining
contact between parents and children, providing a reunification plan for
parents and children and following up on placement of the minor children
to ensure their safety, health and essential needs are being adequately
met; (8) fostering a climate of impunity for engaging in such
unconstitutional conduct.

c, Creating, promulgating, and maintain a policy, custom, or practice of
failing to follow the law as set forth in N.C. Gen. Stat. § 7B-100 et. seq, the
policies, procedures and guidelines as set forth by NCDHHS and other
behaviors, conduct or practices to be learned through discovery and
proved at trial.

190.The wrongful acts and omissions that deprived the Plaintiff's father of custody of
Plaintiff and his right to parent occurred pursuant to Cherokee County’s policies,
customs, patterns, practices and conduct.

191.The policies, practices, customs and patterns of conduct of Cherokee County were

the direct and proximate cause of the violation of Plaintiff's constitutional rights,

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as described throughout this Complaint, and also the proximate cause of the
damages to Plaintiff described throughout this Complaint.
192. Asa proximate cause of Defendants’ conduct, Plaintiff has suffered damages.
COUNT X: RESPONDEAT SUPERIOR
(State law claims only)
193.Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.
194.Liability for the tortious conduct and constitutional violations by the Defendants
in their individual and professional capacity are imputed to Cherokee County, a
governmental subdivision of the state of North Carolina, by operation of the
doctrine of respondeat superior.
195.The conduct of Defendants Palmer, Lindsay, and all Cherokee County Social
Services employees, acting within their authority and at their direction, in their
individual and official capacities, was undertaken within the course and scope of
their employment with Cherokee County and in the furtherance of Cherokee
County and its Department of Social Services.
196.The Defendants owed a statutory duty to Plaintiff to follow state law, act
consistently with state policies, and not act in ways so as to infringe on the rights
and privileges of parents and minor children, including Plaintiff, under the
Constitutions of the United States and the State of North Carolina.
197.Defendants’ use of the unlawful CVA interrupted, interfered with, and destroyed
the parental relationship.and bond of between Plaintiff and her father, and caused
irreparable harm, injuries, emotional distress, mental anguish and other damages
yet to be determined to Plaintiff.

198 Asaproximate cause of Defendants’ conduct, Plaintiff has suffered damages.

COUNT XI: CIVIL OBSTRUCTION OF JUSTICE
(Against Defendants Cherokee County, Palmer and Lindsay)

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199,Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.
200.Defendants intentionally, willfully, and maliciously engaged in an unlawful pattern
of conduct by coercing parents into signing CVAs or substantively similar
agreements.
201.Defendants further used the CVAs or substantively similar agreements to avoid
judicial supervision and oversight of their unlawful activities and to deny parents
their rights to access to justice and to access open courts.
202.Defendants obstructed the administration of public and legal justice by means of
their unlawful actions as described throughout this Complaint.
203,Plaintiff was harmed by the unlawful actions taken by the Defendants in their
attempt to obstruct justice as set forth here and elsewhere in the Complaint.
204. Asa proximate cause of Defendants’ conduct, Plaintiff has suffered damages.
205. Upon information and belief the documentation relating to Heaven Cordell’s CVA
was destroyed by CCDSS.
COUNT XII: PUNITIVE DAMAGES
(Against Lindsay and Palmer in their individual capacities)
206.Plaintiff adopts and incorporate by reference all allegations of this Complaint as if
fully set out herein.
207.Defendants, by their actions as set forth in this Complaint, have acted
intentionally, willfully, wantonly, and maliciously in causing the injuries
complained of.
208.Defendants’ intentional, willful, wanton, and malicious behavior has caused
injuries to Plaintiff as set forth in this Complaint, including:
a. Violating her rights under the Constitutions of the United States and North
Carolina;
b. Obstructing justice and denying them access to due process of law;
c. Damage to the safety, well-being, mental health, and familial cohesiveness
of the Plaintiff;
d, Asa direct and foreseeable consequence of Defendants’ conduct, Plaintiff

suffered injuries, including but not limited to, pain and suffering, mental

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anguish, emotional trauma and distress, and other injuries as described
throughout this Complaint.
209.The Defendants’ intentional, willful, wanton, malicious and oppressive conduct is
the proximate cause of injuries sustained by the Plaintiff. As a result, Plaintiff is

entitled to punitive damages.

COUNT XIU: ATTORNEY’S FEES
(Against All Defendants)

210,Plaintiff adopts and incorporate by reference all allegations of this Complaint as if

 

fully set out herein.
211. Plaintiff is entitled to an award of attorney’s fees pursuant to 42 U.S.C. § 1988(b)
and other applicable federal and state statutes related to the allegations as set forth
herein.
212. In addition to compensatory and punitive damages, Plaintiff seeks to recover her

attorneys’ fees from Defendants.

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WHEREFORE the Plaintiff by and thru her Counsel prays the Court and demand

Judgment:

1.

vw BB WN

6.

For an award to Plaintiff for injuries and damages, including but not limited to,
pain and suffering, compensatory, consequential, punitive and other such
damages, as well as interest thereon, in an amount in excess of $25,000.00 to be
proven at trial;

For pre-judgment.and post-judgment interest as allowed by law.

For an award of attorney’s fees and costs as allowable by all applicable laws;

For a trial by jury;

For an acknowledgement of wrongdoing by the named Defendants and an apology for
the same; and

For such other and further relief as the Court may deem just and proper.

This the 24 day of June, 2020.

 

AID ATWITEWICKRAMA

tttorney for Plaintiff
95 Depot Street
Waynesville, NC 28786
P: 828.452.5801
F: 828.454.1990

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Confidential

 

 

 

Case Name?,,... Cordell Hughes

 

 

 

 

 

 

 

 

2/93/18 PIG with Angie Haney

af2ayie PIE with Molly

 

wait, BW thanked the family and they left

a

BI24(48 PIC with Angle

of24ei6 PIG with Timothy

Timothy agreed to this.

2f2aite FIF with Galeb

(28116 FIF with Heaven and Angie

and thanked them and they left. This was documented on 2/20/16

3/4 (48 Staffing with AGS Collateral

appointinent and was scheduled on 9/4/18 with Bridgette.

SITH6 FIF with all three chifdren

37/18 PIC vath Timothy

 

 

 

 

 

 

 

 

DSS-5010a (Revised 06/08)
Easily Support and Child Walfare Servings

SW spoke with Angie and it was agreed that Angie and Heaven would meet at DSS with SW at 4pm on 2126

SW spoke with Timothy and asked why ne didn't go with Tamyra the day before to get Mally from: the Hospitel. HE
stated that he was waiting on a key for the car fo take and didn’t get the Key In time. yy then asked ff he was still
planning to move to GA and he sald he was going to move probably over the weekend, SW asked that he call her and
meet wiih her nefore he moves the kids because SW would need to know and aiso need to send the cass to GA.

SW went fo Ranger Elementary and met with Caleb, SW noted that he appoered healthy and was dressed
appropriately, SW noted that he was eating lunch. SV epoke with Caleb and asked hin how things were going at home
with Dad and Grandma and he said good. SW asked if he had anything that SW ould check on for hin and he sald no.
He then smiled and showed SW what he was eating. SW thanked him ard laff, This was documented on 2/25/16

at and move fo Georgia, SW asked if there were

SW spoke with Keith from Meridian at the ACS staffing. SW discussed the case and the concerns about the sexual
abuse allegations. Keith told SW that he would inform Karen of this. SW then found out that Molly had made her 2126

SW want lo Ranger and met with Caleb. SW nolsd that he appeared healthy and was dressed appropriately. SW asked
him how things were going and he said good. HE then told WV of several fun things he and his father have been doing.
He did not note any concerns. SW ther went to HD school and met with Heaven, She stated things were great with

Angle and Scott and she wanted (o stay with them. Heaven told SW tha
was good. SW then went to MT Youth and met with Molly, She told SW
sha loved being with Tamyra. She did nol nele any concerns This was dosumented on 3/11/45

tshe had also seen her brother end sister and if
that she had been going to counseling and that

SW spoke with Timothy and stated both girls wanted to stay with thelr Kinship placements. Timothy stated that he was
fine with this, SW let Timothy know that he could revokes power, of attorney at any time and get ihe girls and hes

SW called Angis to arrange a meeting with her and Heaven, SW left a message asking her to return the call

eV met with Molly and Tamyra at the office. Tarnyra told SW that Molly wanted & ga back to Hiawassee Darn and that
Tamyra spoke with the Principal and Molly was golng back to achool the next day. SW then spoke with Molly and asked
now she was doing. She sald thal she was better and didn't want to take aill the medications that were prescribed at the
Hospital bo she wasn't depressed now, SW stated that she needed to take the medications as prescribed and go to
gohool. Molly agreed to this, Sw then asked if she wanted to move to Ga with her dad and Mally stated that she wanted
to stay with Tamyra and go to her Dad's home on the waekend, SW asked why and she said she liked it at Tamyra’s
and didn't want to live in trailer, SW asked if she was scared or wortied about being with her dad and ehe said no. SW
noted that Molly appeared nervous and kept moving around. SW asked Molly if she was nervous and she sald yes. SW
asked what was wrong and she stated she is always nervaus, SW warited to ask about fhe sexual abuse but decided fa

 

SW met vith Heaven and Angle at the Department. SW noted that Heaven appeared healthy and was dressed

appropriately. SW asked Heaven now things ware going at Angie's home and she said goad, Sha told SW that she
didn't want fo go back with her dad because he wanted to marry her au
any soncems or if she was scared for any reasan and she said no. SW then gave Angie the power of attorney papers

 

 

 

 

aid ok

On-Going Case Contacts Page

 

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EXHIBIT

Al

 

. CC-CCDSS BH 00015131
Filed 07/27/20 Page 44 of 59
 

 

Casa Name:,___Gordell Hughes. Gage NUMA bet ne te

 

 

 

 

 

 

bul stated he probably wouldn't do that, because ihe girls were doing good. SW Slated that she would ha closing the
case as of 3/9/18, SW thanked Timothy and hung up, This was documented an 3/11/46

3/9116 PIG with Angie and Tarayra”

SW spoke with both Angie Haney and Tamrya White who stated that they wanted the gifs to stay with them and

| understood that this was Tot custody but that they had power of attorney, Both were told that Timothy could revoke it at
any time and both stated they understood,

31918 Staffing |
SW staffed this case and it was nnted that both girls wanted to stay wilh the families they were with and since power of
attorney was signed and Timothy was agreeable to this, SW could close the case. This was documented on 3/11/96

314(16 Closing case
SW worked on all appropriate documentation to close this case including the 8010, 8427, 5104 and closing jatters to

family and reporter.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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DSS-BOi Ga (Revised 09/08)
Family Support and Child Wellara Seivicas

Qn-Going Gase Gontacls Page

 

 

Confidential CC-CCDSS BH 00015133
Case 1:20-cv-00201-MR-WCM Document 1-1 Filed 07/27/20 Page 45 of 59
 

  

GAR a
ey

Safety Resource Placement Meme of Agreement
Y agree to be a safety resource placement for & __.. #8 4 part of a Chitd

‘
Protective Services safety plan developed on: _ 1 understand that this is 6
voluntary arrangement made by the parent(sf"Uwwutles (edi GO and that the
garents retain legal cvatedy of the child(ren}, They réiain all their rights and parental authority
and can give or refuse permission and rake decisions about the child(ren)'s confidentialily, education,
medical treatment, etc.
1, J understand that the chtid{ran) are not in foster care; 055 does not have custody of the
childfren)}.

2, Lundeystand this arrangement is intended to be temporary according to the time frame outiined
in the safety plan,

3. | tinderstand there is no guaranteed financial assistance (e.9,, foster cara board rate,
clothing allowence, etc.) provided to me for the care of the child(ren) regardless of the length of
Hime the child{ren) are in my home.

« understand thet fam a relative to the above named child(ren) I may apoly for child-oniy
Work Fitst/TANF benefits in the county in which T reside, That department wil determing
whether { quafify for tha benefits,

» understand that I will need to apply for Medicaid on behalf of the child{ren)} in the County in
which f reside,

e understand that I may apely for Food Assistance in the county in which] reside and that
eligibility for thet assistance is deterrnined accarding to the income of the antire household,

I understand that ] am responsible for arranging for day care as needed, and may apoly for
day cara subsidy in the county in which I reside as indicated,

» understand that I may contact the child support unit ab DSS in the county in which L reside
and seek child support or work out another financial support arrangement directly with the
parent.

4, OSS approved of this safety resource placement based upon an initial Kinship assessment. 1
understand that if this arrangement. continues beyond 30 days, X will be necessary for DSS to
complete a more thorough essessment. J saree to cooperate by providing needed informatiog jn
any assessment or home study process.

«  Yunderstand that crimmnal record checks of all sduits in the household will be conducted and
that other background checks, including drug screens, may be completed,

e Sunderstand thet W any concerns that have the potential of placing the child(ren)
at risk of harra are identified in these assessments or harne studies, there ie a
possibility the child(ren} will ba moved from my home,

« | understand that if DSS takes court action and it is necessary for the child(ren) to enter DSS
custody, it may be necessary for the foster care licensing process to be completed for the
child(ren) to remain in my home for an extended period.

5. Because 055 does not hold custody, the agency is not responsible for nor dogs It have the
authority to elther limit or arrange for contact between the child(ren) and the parents. It is my
responsibility to arrange for contact between the parent and the child(ren) at a time and piace
that is mutually convenient for the parent and myself. I understand that any Imibs on perental
access to the child(ren) ere voluntary on the pert of the parent unless a court order has
otherwise established limitations,

 
     

  

             

 

 

 

 

 

 

 

Confidential CC-CCDSS BH 00014445
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® Tf 1 feel contact betwean the parent and child(ren} is harmful to the child(ren} in some way, |
must report that to DSS; L understand B55 may not be able to interveng unless sufficient
grounds for a court order exist,

& J understand that by agreeing to provide a safety resource placement for the child(ren}, T arn

wo

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agreeing to assure the basic needs of care and supervision are met and that the child{ren}
receive any identified needed services to address medical or behavioral health concems. This
may Include assisting with transportation to and from appointments and following
recommendations from service providers, 2 understand that NI ara unable te or unwell Bh
te meet the needs of the child(ren}, the child{ren} mey be ramnoved frare my koma, "
T understand that the current plan is for the child(ren) to return to the care of the parent(s), 7
will work with the parent(s), DSS, and other service providers to promote this olan. This may
include meetings with the parent(s) and ragular DSS visits In my home. Tf T have concerns about
child safaty and/or the parent(s} ability fo care for the chit(ren}, T will nodlfy the CPS social
worker. Pagrea to nothty the soclal worker mediately if the child(ren} leave my
home or of any changes related te the care of the child(ren). | understand that DSS tas
the responsibillly of assessing the safety and well-being of the child(ren).

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Safely Resource Plaéément Provider /
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LEI RTO:

   

CC-CCDSS BH 00014447

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NORTH CAROLINA

CHEROKEE Co

   
  
  

 

TOOY AND VISELA TION AGR

THIS CUSTODY AND VISITATION AGR
2017, by and between Timothy Wayt
chereifaster referred tet
Juaniocs Haney. of C

¢ is made and entered. into this the day off

Cardall of Cherokee County, “North Carolina,

7 “Mtr Cordell” or the child's father and Scott Brie Haney and wile, Angelva
y North Carolina, (bereinafier referrad to as “Mr. and Mrs. Haney” )

 

        
    
      

 

 

Whereas, Timothy Wayne Cordell is the Gaiber of Heaven Melanie Tt aylor Cordell, born Jnby 16, 2001:
and

Whereas, Sout Erie Taney and wif
Melanie

Angelea Tuaniece Haney bave provided placement for Heaven
Taylor Cordell since February, 2016; and

 

 

Whereas, Timothy Wayne Cordell is not able at this time to properly care for his child and to provide for
her an adecuats home, and

  

 

Whereas, Scot. Erie Haney and wife, Angelva Juaniece Haney, are able to provide a loving and stable
rome environment for said ebild and can provide for the suppert and maintenance of said child ifthe said
child resides with them in their bere, and

 

   

Whereas, the pasties hereto desire fo enter Into this Agreement 3 setting forth ibe terms and conditions [or
the care, sdy and contral of Heaven Cordell, which the part Jeera to be in the best interest af
said child in order in adequacely provide a laving and stable fiature for said child now and in the future

 

 

 

NOW, THEREFORE, ‘Timothy Cordell and Seon Ere Haney and wife, Angelee Juanicoe Haney, do
hereby stipulate and agree as follows:

 

| and physical care, custody and control off Heaven Melanie Cordell (her sinafier sometimes
referred to : child’) should be and the legal amd physical care, custody and control of said child is
herehy placed waidk, Scott Eric (laney and wife, Angelea Iuaniece Haney, until such time as the child,
shall become 18 years of age or are otherwise entancipated, whichever occurs first.

   
 

 
 

2 Me. Cordell shall have the right us have visitation with the child at reasonable times and for a

yexsonable Jength of time on each v on period as the parties hereto may agree from time to Gime in
the future subje
Cherokee County, North €
andor “irs. Tan

 

    

 

 

co the following terms and conditions’ (a) The child shall not he removed from

 

arolina by Mr. Cordell without the knowledge and consent of Mr, Haney

; (b) no visivation will be exercised by Mr. Cordell with the child at any time which
mierfores with the child’s normal social, school or ehucch activides: (c) Mr. Cordell shall nof have, use or
pOsHeds arty aloahotle beverage or controlled subsiance during aay in period or within $6 heurs
prior to any time he may bave visitation with the child ((d) Mr. Cordell shall now allow any person who
has, possesses or is uaing or has used any alcoholic beverage or controled sabstance within 96 hours
prior to a visit to be in the presence of the vhild at any time or during any visitation peried he is visiting
with the child ; and (o) in the ¢ that Mr. Cordell is wangporting the child in a niwior vehicle be shall
keep her properly restrained with a seat belt/shoulder harness 98 required by applicable Nomh Carolina
law.

     
  

 

   

     

 

 

    
 

 

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EXHIBIT

Is

 

Confidential CC-CCDSS BH 00014835

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3, 12 Mir. Haney andéor Mis. Haney detect the odor of alcool or the presence of any controlled subsuarice {
on of about the parson of Mr, Cordell ar on or about any person he has with him at any tone when he

cams to exorcise the visitation with the child or if Mr, Hanoy and/or Mrs. Haney are able to determing

within a reasonable degree of certainty that Mr, Cordeli or any other person with tim is under the

infleence of any alucholic beverage or any controlled substance, 1 and in that event, Mr. Haney and/or
Mrs. Haney shall have the right, authority aod power to deny avy visitation period benween Mr, Cordetl
and the child while he or any other pers

provision.

   

  
 
 

     

       
    
 

   

‘on with bin is in viokition of (he terms and conditious of this

 

4. It is stipulated and agreed that while the child is bs the care and custody of Mr. Haney and/or Mrs,
Haney thal Mr. Taney and/or Mrs. Hancy shall have the power and authority to se ain and consent
to and for any dental care. medical eare or health care, emergensy of otherwise, which may be necessary
or advisable in providing for the best interests and care of the child. At sac time as the child is enrolled
in and enter school, iL is stipulated and ¢ {tbat Mr. Haney and/or Mrs, Maney, jorntly or individually,
shall have the power and aothority to enroll the child in sobool, and Mr. Haney and/or Mrs. Haney, jointly
or individually, shall have the power and authority to consent for the chiki tn participace in ary and all
acusities and programs, inelading sports activities and Geld trips, which are necessary oF beneficial te
provide for the complete and well-rounded education of the cbild .

     

  

  
 

 

 

 

 

     

   

roosl that the “home state” of Heaven Cordell, is North Carolina as home
slaie is defined by North Carolina General Statutes S04-J02(7) of the Uniform Child Cusiody and
Enforcornent Turiadictions Act. and avy and all legal proceedings involving the custidy of the child andor
visitation with the child shall be and nuast be Aled, Hugated and decided in the Courts of the State of
North Carolina, and specifically in Cherokee County, North C

   

5, Itis hereto stipulated and

 

        

 

 

    
 

6. Its hereto stipulated and agreed that the site of this Agreement |
shall be imerpreied in accordance with and governed by the laws,
State of North Carolina.

rth Carolina and suid Agresrnont
tatates and judicial decisions of the

  

  

TN WITN
writer,

 

5 WEIER

 

SOK, the parties hereto have set their hands and seals, the day and year first above

    
 
   

 
 

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ot gtlle bts CEE g (SUL) ¥ ‘
a othe” Cordell, the child's father ‘O° 2 dee

 

NOTARY PUBL
CHEROKEE COUNTY:

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Page 2 of 2

 

 

Confidential CC-CCDSS BH 00014837
Case 1:20-cv-00201-MR-WCM Document 1-1 Filed 07/27/20 Page 49 of 59
STATE OF NORTH CAROLINA

COUNTY OF CHEROKEE

  
     
  

   

a Notery Public of sald Site and County, do hereby certify that Tumothy
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My Commission Expires:

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STATE OF NORTH CARULINA
COUNTY OF CHEROR EY:

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STATE OF NORTH CAROLINA

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CC-CCDSS BH 00014839
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DEPARTMENT OF HEALTH AND HUMAN SERVICES

DIVISION OF SOCIAL SERVICES
CHILD WELFARE SERVICES

ROY COOPER . MANDY COHEN, MD, MPH
GOVERNOR SECRETARY

WAYNE E. BLACK
DIRECTOR

December 20, 2017
DEAR COUNTY DIRECTORS OF SOCIAL SERVICES

SUBJECT: URGENT: POLICY AND PRACTICE ALERT: PRIVATE CUSTODY AGREEMENTS

Tt has come to our attention that child welfare staff in some county Departments of Social Services may be
facilitating the completion of private custody agreements between the parent(s) of children involved in Child
Protective Services and other family members or other individuals, without the oversight of the Court. Counties
thought to be facilitating such agreements have been contacted directly. This letter is a reminder that facilitating
such private custody agreements without the oversight of the Court falls outside of both law and policy.

NCGS 108A-14(a)(11) provides that a director of social services has the duty and responsibility to “assess reports
of child abuse and neglect and to take appropriate action to protect such children pursuant to the Child Abuse
Reporting Law, Article 3 of Chapter 7B of the General Statutes.” Article 3 of Chapter 7B of the General Statutes
and DHHS policy set forth the duties and responsibilities of county Departments of Social Services related to the
placement and custody of children involved in Child Protective Services, The use of agency resources to facilitate
private custody agreements without the oversight of the Court does not fall within the provision of Child
Protective Services, and is therefore beyond the scope of a County Department of Social Services’ duties and
responsibilities,

As a reminder, the goal of Child Protective Services is to support and improve parental/caregiver abilities to
assure a safe and nurturing home for each child. In-Home Services engages families in the planning process while
producing better outcomes of safety, permanence, and well-being for children, and encourages families to develop
a support network that can assist them in planning for coping with future challenges.

If you have questions, please consult with your agency attorney or contact your Children’s Program

    

Representative.
Sinceggly,
\on — a
is#T. Cauley, )
Députy Director
CWS-50-2017

WWW.NCDHHS.GOV
TEL 919-527-6370 * FAX 877-625-4374 EXHIBIT
LOCATION: 820 S. BOYLAN AVE. * MCBRYDE BUILDING * RALEIGH, NC 27603
MAILING ADDRESS: 2445 MAIL SERVICE CENTER * RALEIGH, NC 27699-2445 \
AN EQUAL OPPORTUNITY / AFFIRMATIVE ACTION EMPLOYER C,

 

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STATE OF NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE
CHEROKEE COUNTY 2018 HAR 14 PH a: | SistTRICT COURT DIVISION

   

ie fs pdm, IB CVD 0046
MICHABL MATHIBU | wef 9 Hp “SEC,
Plaintiff, ify ‘) .
j “DECLARATORY JUDGMENT
Vs, )
)
SHALEES GREENLEE )
Defendant, )
)

THIS MATTER coming on to be heard and being heard before the undersigned judge of
the district court at the session of civil district court in Cherokee County on February 28, 2018 on
Defendant Greenlee’s counterclaim for declaratory judgment, the Court heard from the parties and
their attorneys.

IT APPEARING TO THE COURT that both parties are present; the Plaintiff is represented
by Zeyland McKinney and the Defendant is represented by David A. Wijewickrama, Ron Moore,
D. Brandon Christian, and Melissa Jackson, and; | .

IT FURTHER APPEARING TO THE COURT that this action for child custody was filed by the
Plaintiff in this Court seeking, inter alia, custody of the minor child Alana Roberts, born July 5,
2016, Plaintiff further sought and received an emergency ex parte order granting him temporary
custody of the minor child pending further order of this Court, based in material part, on
maintaining the status quo which Plaintiff contends was established by a Custody and Visitation
Agreement. The Defendant filed a special appearance, answer, counterclaim, and several

procedural motions, including a plea for a declaratory judgment, and;

 

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7, SW Hughes told Greenlee that by signing the CVA Greenlee (1) would avoid court
involvement, and (2) could avoid further drug testing.
8. SW Hughes also told Greenlee that, under the CVA, Greenlee would have visitation as agreed

upon by the parties,
9, Greenlee understood and believed that to mean that her visitation with her child would be at

least what she had been getting and probably more.

_ 10. Beyond these assertions, SW Hughes did not explain or attempt to explain any of the terms

and conditions of the CVA to Greenlee,
11. SW Hughes told Greenlee that once she signed the CVA:
a. The case would be closed and there would be no follow up by the Department;
b, The CVA was a legally binding document and was valid until the child turned 18
years of age; and
c, That she would have to get an attorney to change and or modify the CVA,

12, Greenlee did not have independent counsel, was not offered independent counsel, and due to
the fact that the SW Hughes came to her home with a notary on the date the CVA was signed,
Greenlee did not have the opportunity to seek independent legal counsel.

13, Greenlee did not understand the terms and or conditions of the CVA.

14, There has never been a judicial determination as to custody of this minor child,

15, After the parties executed the CVA on November 13, 2016, custody of Alana Roberts was
assumed by the Plaintiff,

16, The Defendant was unable to see her daughter for approximately one year based on the CVA.

17. Greenlee attempted on a number of occasions to visit with her minor child.

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Greenlee submitted herself to drug testing pursuant to her case plan.

SW Hughes as well as Director Cindy Palmer indicated that the Defendant requested the CVA.
The Defendant nor the Plaintiff ever indicated by their testimony, that either party requested
to signa CVA,

The execution of a case plan contradicts the use or facilitation ofa CVA.

The CVA was drafted and created by employees of CCDSS in conjunction with, at the direction
of, and with and the approval of the Cherokee County Department of Social Services Attorney
Scott Lindsay.

CCDSS has used CV As to routinely remove children from their biological parents without due
process of law or Court oversight.

The use of CVAs by CCDSS has been a regular course of dealing and pattern of practice over
the course of many years.

The CVA or some variation thereof has been used by CCDSS for a number of years,

No CVA has ever been reviewed, signed, or entered and filed as an Order of the North Carolina
District Court.

CCDSS Director Cindy Palmer, insisted that she did not know of the practice of using CVA
until December of 2017 when she was informed of a prior incident with another CVA.

At all times relevant as set forth herien, Director Cindy Palmer, Social Worker Hughes and
Attorney Scott Lindsay were acting within there Official scope of duty as employees and
agents of Cherokee County Department of Social Services,

At the time the CVA was executed, Defendant was informed by CCDSS agents and employees

that it carried the force of law, and the she was legally bound to adhere to its terms.

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. The CVA (Exhibit A to Plaintiff's Complaint) purports to create legal rights as between

the parties regarding the custody of the minor child Alana Roberts, born July 5, 2016, and
was relied upon by the Plaintiff as part of the basis for his ex parte custody order, which

remains in effect.

. Therefore, there exists between the parties a genuine controversy over the legal rights

created by the CVA, and the parties are entitled to a declaratory judgment setting forth

what rights, if any are created by the CVA.

. For the reasons set forth more specifically below, the CVA creates no rights, is illegal, and

is vold ab initio,

. The Fourteenth Amendment to the Constitution of the United States provides that no person

”

shall be “deprive[d] .. . of life, liberty, or property, without due process of law....
Article I, Section 19 of the North Carolina Constitution states that “[n]o person shall be . .

. or in any manner deprived of his life, liberty, or property, but by the law of the land.”

. In Troxel v. Granville, 530 U.S. 57, 65-66 (2000), the United States Supreme Court held

that “[i]n light of .. . extensive precedent, it cannot now be doubted that the Due Process
Clause of the Fourteenth Amendment protects the fundamental right of parents to make

decisions concerning the care, custody, and control of their children,”

. To ensure that all parents enjoy the protections of due process in any case where DSS seeks

to remove a child from his or her parent, the North Carolina General Assembly has enacted
the Juvenile Code in Chapter 7B of the North Carolina General Statutes to govern all

proceedings in which a juvenile is alleged to be abused, neglected, or dependent.

. It is beyond dispute that one of the fundamental rights enjoyed by all parents under the

United States Constitution is the right to raise their children without government

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management of their child”); and Troxel, at 66 (“In light of . . . extensive precedent, it
cannot now be doubted that the Due Process Clause of the Fourteenth Amendment protects
the fundamental right of parents to make decisions concerning the care, custody, and
control of their children.”)

10, The same protection is extended to the people of North Carolina by Article 1, Section 19
of the North Carolina Constitution.

11, The term "law of the land" as used in Article I, Section 19 of the North Carolina
Constitution means the general law, the law which hears before it condemns; which
proceeds upon inquiry, and renders judgment only after trial. It means the regular course
of the administration of justice through the courts of competent jurisdiction, after the
manner of such courts, Procedure must be consistent with the fundamental principles of
liberty and justice. State v, Chesson, 228 N.C. 259, 45 S.E,2d 563 (1947), writ dismissed,
334 U.S, 806, 68 S, Ct, 1185, 92 L, Ed. 1739 (1948). See also, Eason vy. Spence, 232 N.C.
579, 61 S.E.2d 717 (1950). Among other things, "the law of the land" or "due process of
law" imports both notice and the opportunity to be heard before a competent tribunal.
Parker v, Stewart, 29 N.C. App. 747, 225 S.E.2d 632 (1976); Utica Mut. Ins. Co. v,
Johnson, 41 N.C. App. 299, 254 S.E.2d 643 (1979),

12. Moreover, the North Carolina “Supreme Court has held that the term ‘law of the land,’ as
used in Article I, Section 19 of the North Carolina Constitution, is synonymous with “due
process of law’ as that term is applied under the Fourteenth Amendment to the United
States Constitution, Jn re Petition of Smith, 82 N.C. App. 107, 109, 345 S.B.2d 423, 425
(1986) (quoting In re Moore, 289 N.C, 95, 221 S.E, 2d 307 (1976)). Also see State v.

Smith, 90 N.C. App. 161, 368 S.E.2d 33 (1988), aff'd, 323 N.C. 703, 374 S.E.2d 866, cert.

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the United State, Article I Section 19 of the Constitution of the State of North Carolina,
and Chapter 7B of the North Carolina General Statutes

19, The complete, utter, willful, and malicious decision of CCDSS, Director Palmer, Attorney
Lindsay and David Hughes to willfully and deliberately remove the minor child in this case
from Defendant Greenlee’s custody by means of this unlawful CVA is the direct and
proximate cause of Defendant Greenlee being separated from her child. .

20, Any injury or harm accruing to any parent or child affected by a CVA is the direct and
proximate result of CCDSS’s, Director Palmer, Attorney Lindsay and the other policy
makers for CCDSS deciding to violate the rights of parents and children.

21. The CVA before the court in this case was obtained outside of the judicial process, and
therefore was obtained in violation of Defendant Greenlee’s rights under the Fourteenth
Amendment to the Constitution of the United State, Article I Section 19 of the Constitution
of the State of North Carolina, and Chapter 7B of the North Carolina General Statutes.

22. Pursuant to the North Carolina General Statutes, the District Court Division of the General
Court of Justice has original and exclysive jurisdiction over all matters pertaining to DSS
cases brought under Chapter 7B and custody action brought under Chapters 50 and 50A.

23, There has never been a judicial determination as to custody of this minor child, therefore,
the CVA cannot have legal authority,

24, North Carolina recognizes two types of fraud, actual and constructive,

25. Actual fraud occurs when a person obtains something from another person by means of a
misrepresentation. “In pleading actual fraud, the particularity requirement is met by

alleging time, place and content of the fraudulent representation, identity of the person

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e. SW Hughes clearly made material mispresentations about the CVA and the CVA
process to.induce Defendant to sign.

f. Additionally, SW Hughes told Greenlee that by signing the CVA Greenlee (1)
would avoid court involvement, and (2) could avoid further drug testing.

g. SW Hughes also told Greenlee that, under the CVA, Greenlee would have
visitation and contact with the minor child.

h. Beyond these assertions, SW Hughes did not explain or attempt to explain any of
the terms and conditions of the CVA to Greenlee.

i. SW Hughes told Greenlee that once she signed the CVA the case would be closed
and there would be no follow up by the Department; the CVA was a legally binding
document and was valid until the child turned 18 years of age; and that she would
have to get an attorney to change and or modify the CVA.

j. Despite the fact that SW Hughes told Greenlee that she was signing a binding legal
document, which would have the force and power of a court order and bind her
rights insofar as they concerned her custody of her minor child, Greenlee did not
have independent counsel, was not offered independent counsel, and was not given
the opportunity to speak with independent legal counsel.

k. Moreover, Greenlee did not understand the terms and or conditions of the CVA,
especially the fact that the CVA did not create any legal rights as to the minor
child’s custody. |

l. Yet, after the parties executed the CVA on November 13, 2016, custody of Alana

Roberts was assumed by the Plaintiff.

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Department of Social Services, their agents or employees and Attorney Scott Lindsay are

and shall be at all times void ab initio.

Entered this, the, 28" day of February, 2018.

Signed this, the, 14!" day of March, 2018.

 

Honorable /pssa Sellers”
District ‘t Judge Presiding

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